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Theoda ivii|ls, an individual ,

VS

St. Louis County Govt.

Sharon Gardner, in her individual
and Ofiicia| capacity,

Donaid Edwards, in his individual
and Officiai capacitv, Joyce Theard

in her individuai and Official Capacity
Steve Stenger in his Official Capacity

. .IN 'I`I-IE CIRCUIT COURT 013 ST. LOUIS COUNTY
STATE OF MISSOURI

Piaintiff,

Jury Demend

v\._#~._r\._.v\._.r\._.l`.¢¢\..¢\_.¢h_-r'\.#-\-.rv

PETITION

Theoda Mills, for his petition against St. Louis County, Mis r~101111 et all states and alleges

as follows:

l. rl`his case arises under the Missouri Human Rights Act, RSMO. Sec. 213.010 ct seq.,

(MHRA) Mills has dutifnlly filed his complaint and received a “1'ight to sue letter" after
exhausting ali of his administrative ieniedies pulsuant to the act- . . .

2. Theoda Miils is a resident of St. Louis County., Missouri'.

3. St. Louis County employs more than six employees in the State of Missouri such that
it is an “einployer” under RSMO. Sec. 213.010 (7).

4. Defendants, Sharan Gardner, Donalcl Edwarcls, Joyce Theard were acting on behalf o't`
St. Lonis County Govt. and weie directly involved in the acts and oinissio ns, and were
acting in the course and scope of their duties for St. Louis County Govt. such that they
weie “einployeis” within the meaning of RSMo. Sec. 213. 010 (?). -

5. Steve Stengei , as County Executive, is the einployei of Tlieoda M.ills within the
meaning of RSMO. Sec. 213.010(7) . I~Ie has authorized aforementioned defendants to -
act under his direction and pursuant to his policy and procedure = ' '

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5- As the acts of discrimination took place in St. Louis County, Missouri Venue is proper
in this court under MHRA.

6. St. Louis County illegally discriminated against Theod a Mills based on his-dis ability,

activity protected under the leHRA when they tenninated his employment with the St. - . =

Louis County Department of I'Iealth.

7_ St Louis County requires all employees to comply with local state and federal laws
negai ding employment practices - - '

3. At the time Mr. Mills had been a health inspector with the County-for more than-five - y

years.
9. Mr. Mills had a severe allergy to shellfish.
10. Mr. Mills was over the age of forty at all times material hereto'.,.

11 '1`11e detendant_s,. Sharon Ga1de11e1Dona1d Edwards and loyce Theard were all aware
of M.r Mills’ condition before he was fired .

12. The County and Gardener, Edwards and Theard refused to accommodate him.-

13' Upon htfoiiiiation and belicf, St Louls County, and defendants Gardenet, Edwards
and Theard regarded Mills as having physical impairment which substantially impaired one
or mole of his major life activities . .

14. Despite being aware of Mr. Mills’ allergy, his supervisors continually placed him on
- job assignments that would force him to come into intimate contact with shellfish.

15. 011 one 01 moie occasions such contact caused Ivli. Miils to be overcome with illness --

and hospitalized for several days

16. Following these incidents Nlr Mills was iepeatedly and continually heated diffeientiy - ' '

than younger coworkei s not suffering horn or having a record of a disability and was made
_ to work 111 a hostile work environment. - -

17. .His work and pei 101 mance were loutinely cl 1t1cized and he was subjected to abusive -
t1 eatinent and demotion by St. Louis County and his Snpervision. _ 1 -

- 18. Mr. Mills suffered economic damages and emotional distress damages as a result of the ~ 1 `

discriminatory conduct of the defendants
M
sen DISCRIMINAHON 111 vloLA'noN oF Mnna
20. Mills restates and incorporates by reference all preceding paragraphs of this petition

21 As a ditect and proximate result of St Louis County et all’s conduct, Mills has
sustained damages 111 the form of lost mcome, loss 01 sick time and vacation time that

cna 111 to - 9 toe ‘az J@Qweldes ~ hence S!no't is - pass sileatuosoela

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should have been earned, emotional pain and mental suffering and an guish, inconvenience
and loss of enjoyment of life.

22. St. Louis County’s Contluct Was outrageous due to its evil motive and conscious and 01‘
reckless disregard for Mills’ rights, entitling him to punitive damages 1 1 '

23. Mills has been folced to engage the services of an attorney and ts entitled to an award
of attorneys fees and costs due to defendants’ conduct ' -

Wherefore, Plaintiff, rI`heoda Ivlills prays for judgment against St. Louis County ,
Gardener, Edwards and Theard for his actual and punitive damages; for an award of attorney"s '
fees and costs, and for such other and further relief as the court deems just and equitable in the
premises_.

COUNT TWO
DISAB]LITY DISCRIMINATION lN VIOLATION OF THE MHRA
24. Mil.ls restates and incorporates by reference all preceding pargraphs of this petition.

25. As a direct and proximate result of the St. Louis County and Gatdener, Edwards and Theard’-
s conduct , Mills has sustained damages in the form of lost income, including sick time and
vacation time that could have been earned and emotional paint including mental suffering and
anguish, inconvenience and loss of enjoyment of life.

26 The defendants’ conduct was outrageous due to their evil motive and reckless disregard for
' Mills’ rights, entitling him to punitive damages ‘ -

2’1. Plaintiff has been forced to engage the services of an'attorney and is entitled to a'n award of - `-

attorneys’ fees and costs due to defendants’ conduct.

Whel efore Plaintit`f, Mills prays for judgment against the defendants for actual damages
punitive damages, attorneys fees and for Such other and futthe1 relief as the coult deems jus and
equitable '

COUNT THREE

VIOLATION OF THE AMERICANS \NITH DISABILITIES ACT. 42 USC SECT‘ 12101. et.
S ; ` [“.ADA??]

28. Mills restates and incorporates by inference all preceding paragraphs of this petition

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29. Defcndant is an employer within the meaning of 42 USC sect. 2000e et seq.
3U.Mills has satisfied all procedural requirements to commencing this action.

31. Venue is appropriate because the events that gave rise to this complaint occurred in this
jurisdiction

32. Mills is an individual with a physical impairment that substantially limits one or more major
life activities

33. St. Louis Connty and the codefendants1 had a record of Mil]s’ substantially limiting
impairmentl

34. -As a di1 ect and p1oximate result of Defenants’ actions they violated his rights pursuant to
the ADA!ADAA- 111 that they failed to make reasonable accommodations to Mr. Mills so that he

could retain his position, they deinoteer. Mills and then terminatedhimt. ~ - ~ . . ‘ .E

35. Plaintiff has been 2"01 ced to engage the services of an attorney and is entitled to an award of

attor’neys fees and costs due to defendants’ conduct.

Wherefore, Plaiutiff prays for judgment against the defendants in the official and

individual capacities for his actual, emotional and punitive damages for an award of attomey‘s t ~
fees and costs, and for such other and further relief as the court deems just and equitable m the - - -

PI'CII'liSCS

Respectfu|iy submitted this
28 September 2015

/s/ Ce|estine Dotson

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